Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 1 of 28




                     EXHIBIT B
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 2 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 3 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 4 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 5 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 6 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 7 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 8 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 9 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 10 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 11 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 12 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 13 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 14 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 15 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 16 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 17 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 18 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 19 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 20 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 21 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 22 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 23 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 24 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 25 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 26 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 27 of 28
Case 4:18-cr-00339 Document 224-2 Filed on 01/26/22 in TXSD Page 28 of 28
